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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

STEPHEN JONES                                                                  PLAINTIFF
ADC #179648

VS.                               4:22-CV-00077-BRW

MARK GOBER, et al.                                                          DEFENDANTS


                                      JUDGMENT

      Based on the order entered today, this case is DISMISSED without prejudice.

      IT IS SO ORDERED this 7th day of July, 2022.



                                                 BILLY ROY WILSON
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                                          UNITED STATES DISTRICT JUDGE
